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 7   NEW FLYER OF AMERICA INC.
 8                       UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10
     WARREN HOFFMAN AND            )           Case No. '22CV120 W      BLM
11   LONDELL HUEY,                 )
                                   )           DEFENDANT NEW FLYER OF
12                    Plaintiffs,  )           AMERICA INC.’S NOTICE OF
                                   )           REMOVAL TO FEDERAL COURT
13       VS.                       )
                                   )           28 U.S.C. § 1332
14                                 )           28 U.S.C. § 1441(b)
     NEW FLYER OF AMERICA INC. and )           28 U.S.C. § 1446
15   DOES 1 TO 25,                 )
                                   )           [Removal from Superior Court of
16                    Defendants. )            California for the County of San Diego,
                                   )           Case No. 37-2021-00049306-CU-PL-
17                                 )           CTL]
                                   )
18                                 )           Complaint Filed: December 7, 2021
                                   )
19
20

21           TO THE CLERK OF COURT FOR THE UNITED STATES
22   DISTRICT COURT FOR THE SOUTHERN DISTRICT OF CALIFORNIA:
23           PLEASE TAKE NOTICE that Defendant in the above-captioned matter, New
24   Flyer of America Inc. (“New Flyer”), by and through its attorneys, Wilson, Elser,
25   Moskowitz, Edelman & Dicker, LLP, and pursuant to 28 U.S.C. § 1441, 28 U.S.C.
26   §1446, and 28 U.S.C. §1332, hereby removes this case, San Diego Superior Court
27   Case No. 37-2021-00049306-CU-PL-CTL, entitled Warren Hoffman and Londell
28   Huey v. New Flyer of America Inc., now pending in the Superior Court of California,
                                             1
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 1   County of San Diego, to federal court in the United States District Court for the
 2   Southern District of California.
 3                                 I.     INTRODUCTION
 4           Defendant New Flyer removes this lawsuit on the basis that federal
 5   jurisdiction is proper in this case based on diversity of citizenship pursuant to 28
 6   U.S.C. §1332(a)(1). Federal district courts have original jurisdiction of all civil
 7   actions between citizens of different states where the amount in controversy exceeds
 8   $75,000. 28 U.S.C. §1332(a). A defendant may remove an action from state court
 9   to federal court, based on diversity jurisdiction, pursuant to the provisions of 28
10   U.S.C. §§ 1441(a) and 1446(a).
11           This is a civil action where the amount in controversy exceeds $75,000 and
12   the parties are citizens of different states. New Flyer is a North Dakota corporation
13   with its principal place of business in Minnesota. Diversity jurisdiction is appropriate
14   pursuant to 28 U.S.C. §1332 and as set forth herein.
15           On December 7, 2021, Plaintiffs Warren Hoffman and Londell Huey
16   (collectively, “Plaintiffs”) filed their Complaint against New Flyer in the Superior
17   Court of the State of California, County of San Diego, Central Division. (See,
18   Complaint and attached proof of service documents, attached hereto as Exhibit A.)
19   The Complaint was served on and received by New Flyer on December 30, 2021.
20   (Id.)
21           On January 27, 2022, New Flyer filed an Answer to the Complaint in the San
22   Diego Superior Court, a copy of which is attached hereto as Exhibit B1.
23                           II.    GROUNDS FOR REMOVAL
24   A.      This Action is Removable Pursuant to Diversity Jurisdiction
25           New Flyer is informed and believes that Plaintiffs were and are, at all relevant
26   times hereto and at the time of this removal, a citizen of, domiciled in, and residing
27

28   1
      A conformed copy of New Flyer’s Answer will be filed with the District Court
     upon receipt.
                                               2
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 1   in the State of California. Specifically, New Flyer is informed and believes that
 2   Plaintiffs are permanent residents of the State of California and were and remain
 3   permanent residents in the county of San Diego in the State of California.
 4           Defendant New Flyer is a citizen of the State of North Dakota for purposes of
 5   removal jurisdiction. New Flyer is incorporated in North Dakota and maintains its
 6   headquarters and principal place of business in the city of Saint Cloud, Minnesota.
 7   Defendants Does 1 – 25 are fictitious parties. Doe Defendants may be disregarded
 8   for purposes of determining removal jurisdiction.              28 U.S.C. § 1441(b).
 9   Accordingly, complete diversity exists between the parties.
10           Plaintiffs’ Complaint sets forth causes of action for Strict Products Liability –
11   Manufacturing Defect; Design Defect; Breach of Warranty, and General
12   Negligence. Plaintiffs’ Complaint alleges New Flyer is “in the business of
13   manufacturing buses, including the 2015 New Flyer Xcelsior Model XN60 bus
14   operated by plaintiff[s].” (See Ex. A, Complaint pp. 5, 8.) Plaintiffs allege that “[d]ue
15   to the negligence of New Flyer of America, Inc. and Does 1-25 in the design,
16   component selection, and manufacture of the bus, including its gas sensor fault alarm
17   system,… the gas sensor fault alarm spontaneously began emitting a deafening, ear-
18   piercing sound, which could not be reset or shut-off, though there had been no gas
19   supply fault, problem, or issue requiring any warning.” (Id. at pp. 5-6, 8-9.)
20           Plaintiff Warren Hoffman alleges he “suffered hearing and brain damage, has
21   suffered severe pain and physical impairment; incurred medical expenses to treat his
22   injuries and will required additional medical treatment for which he will incur
23   expenses in the future; has lost income from employment to date and has become
24   disabled from future employment which will cause him to lose income in the future
25   as well.” (Id. at p. 6.) Plaintiff Londell Huey alleges he “suffered hearing and
26   neurological damage, has suffered severe pain and physical impairment; incurred
27   medical expenses to treat his injuries and will require additional medical treatment
28   for which he will incur expenses in the future; has lost income from employment to
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 1   date and has become impaired drom [sic] future employment which will cause him
 2   to lose income in the future as well.” (Id. at p. 9.) Plaintiffs are seeking compensatory
 3   and exemplary and punitive damages. (Id. at pp. 3, 10.)
 4           New Flyer believes and hereby asserts in good faith that the amount in
 5   controversy exceeds $75,000. New Flyer bases this assertion on the allegations in
 6   the Complaint: 1) that Plaintiff Warren Hoffman was injured on September 24, 2020
 7   (Complaint p. 5); 2) that Plaintiff Warren Hoffman suffered hearing and brain
 8   damage; 3) that Plaintiff Warren Hoffman suffered severe pain and physical
 9   impairment; 4) that Plaintiff Warren Hoffman incurred medical treatment, requires
10   ongoing medical treatment, has suffered lost income since September 24, 2020, has
11   become disabled from future employment, and is seeking punitive damages (Id. at
12   p. 6); 5) that Plaintiff Londell Huey was injured on March 13, 2020 (Complaint p.
13   8); 6) that Plaintiff Londell Huey suffered hearing and neurological damage; 7) that
14   Plaintiff Londell Huey suffered severe pain and physical impairment; and 8) that
15   Plaintiff Londell Huey incurred medical treatment, requires ongoing medical
16   treatment, has suffered lost income since March 13, 2020, has become impaired from
17   future employment, and is seeking punitive damages. (Id. at p. 9) Plaintiffs’
18   allegations as they relate to their causes of action are plausible to support an amount
19   in controversy exceeding the jurisdictional limit of $75,000.
20           While the Complaint is silent as to the specific amount of damages sought,
21   Defendant is only required to include a plausible allegation that the amount in
22   controversy exceeds the jurisdictional threshold. Dart Cherokee Basin Operating
23   Co., LLC v. Owens, 135 S.Ct. 547, 554 (2014): interpreting the “short and plain
24   statement of the grounds for removal” of 28 U.S.C. 1446(a); see also 28 U.S.C.
25   1446(c)(2)(B). Further, in determining whether the $75,000 threshold has been met,
26   punitive damages and future wage loss are included. Chavez v. JPMorgan Chase &
27   Co., 888 F.3d 413, 416-418 (9th Cir. 2018).
28   ///
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 1           Here both Plaintiffs are alleging: “lost income from employment to date”;
 2   Plaintiff Warren Hoffman alleges he “has become disabled from future employment
 3   which will cause him to lose income in the future as well”; and Plaintiff Londell
 4   Huey alleges he “has become impaired drom [sic] future employment which will
 5   cause him to lose income in the future as well.” (Complaint pp. 6, 9.) Each Plaintiff
 6   suffered their respective injuries, which include either hearing, brain and/or
 7   neurological damage, in 2020. In 2020, Transparent California lists the salary of
 8   Plaintiffs Warren Hoffman and Londell Huey as $51,397.00 and $62,879.00,
 9   respectively, including regular pay, overtime pay of about $8,000/plaintiff, and
10   benefits. (Declaration of Marty B. Ready, (“Ready Decl.”), ¶¶ 2, 3.) Because the
11   injuries occurred in 2020, Plaintiffs have already suffered over one full year of lost
12   wages. In combination with future lost wages, it is more than plausible that
13   Plaintiffs’ collective lost wages and future lost wages exceed the jurisdictional
14   threshold of $75,000.00. For example, if each Plaintiff only lost overtime pay as a
15   result of the alleged injuries from 2021 to 2025, then the damages for lost wages and
16   future wages would total $80,000 - more than the jurisdictional limit. (See Ready
17   Decl., ¶ 4; in 2018 Plaintiff Warren Hoffman had overtime wages exceeding
18   $12,000.) Moreover, factoring in the medical damages and future medical damages
19   for each Plaintiff, it is more than plausible the $75,000 threshold has been met.
20   B.      This Removal is Timely
21           This Notice of Removal is timely filed in accordance with 28 U.S.C. §
22   1446(b) because it is filed within thirty days of Plaintiffs’ service of their
23   Complaint on New Flyer.
24   C.      Consent to Removal is Given
25           New Flyer is the only named defendant, and as a result, consent pursuant to
26   28 U.S.C. § 1446(b)(2)(A) is not required.
27   ///
28   ///
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 1   D.      Venue is Proper
 2           Venue of this removed action is proper pursuant to 28 U.S.C.§§ 1332 and
 3   1446(a) because this Court is the United State District Court for the district
 4   embracing the place where the removed action was pending – the Superior Court of
 5   the State of California, County of San Diego.
 6   E.      All Pleadings from the State Court Action are Attached
 7           As required by 28 U.S.C. 1446(a), all papers and pleadings served on
 8   defendants and known to be on file with the State Court are attached to this notice
 9   as Exhibits A - B.
10   F.      Notice to Plaintiff and the State Court Clerk
11           As required by 28 U.S.C. 1446(d), a copy of this notice is being served today
12   on all parties of record and will be filed with the Clerk of the Superior Court of
13   California, County of San Diego.
14                                   III.   CONCLUSION
15           For the reasons above, this action is removable to the United States District
16   Court for the Southern District of California based on diversity of citizenship under
17   28 U.S.C. §§1332 and 1441(a).
18

19    Dated: January 28, 2022               WILSON, ELSER, MOSKOWITZ,
                                              EDELMAN & DICKER LLP
20

21                                   By:
                                            E. Paul Daugherty, Jr., Esq.
22                                          Marty B. Ready, Esq
                                            Attorneys for Defendant
23                                          New Flyer of America Inc.
24

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